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Gnited States District Court

FOR THE
NORTHERN DISTRICT OF CALIFORNIA

VENUE: SAN FRANCISCO

Map
UNITED STATES OF AMERICA, snStsan- ° dag O°
V. 1 Diss OisreCne
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Pics” ORNy,

RICHARD EUGENE HARTMAN,

CR 20 126 “we

DEFENDANT(S).

INDICTMENT

18 U.S.C. §§ 2252(a)(4}(B) and (b)(2) — Possession of Child Pornography;
18 U.S.C. § 2253(a) — Criminal Forfeiture

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“A DD Foreman

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v uf a Clerk

SONNA M. RYU Bai, NO PROCESS

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AO 257 (Rev. 6/78)

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| DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

By: [] comptaint C1 INFORMATION INDICTMENT
CL] suPERSEDING

OFFENSE CHARGED
COUNT 1: 18 U.S.C. § 2252(a)(4}(B} & (b){2) — Possession of [] Petty
Child Pornography
[-] Minor
Misde-
O meanor
Felony

PENALTY: 20years imprisonment; $250,000 fine; minimum 5 years and
maximum lifetime supervised release; $5,100 special assessment ,
forfeiture, restitution

Name of District Court, and/or Judge/Magistrate Location
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

-— DEFENDANT - U.S

, Richard Eugene Hartman

DISTRICT COURT NUMBER
CR 20 126: Ve
DEFENDANT

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

FBI

oO person is awaiting trial in another Federal or State Court,
give name of court

this persen/proceeding is transferred from ancther district
O per (circle one) FRCrp 20, 21, or 40. Show District

this is a reprosecution of

charges previously dismissed
O which were dismissed on motion SHOW

of \ DOCKET NO.

[] u.s.aTroRNey [[] DEFENSE

this prosecution relates to a
pending case involving this same

defendant MAGISTRATE

prior proceedings or appearance(s)
[_] before U.S. Magistrate regarding this
defendant were recorded under

\ CASE NO.
Name and Office of Person

Furnishing Information on this form DAVID L. ANDERSON
[x] U.S. Attorney [[] Other U.S. Agency

Name of Assistant U.S.

Attomey (if assigned) Molly A. Smolen

PROCESS:
[I] SUMMONS [X] NOPROCESS* [[] WARRANT

lf Summons, complete following:
[J Arraignment [_] initial Appearance

Defendant Address:

Comments:

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) (J If not detained give date any prior
summons was served on above charges »

2) (J Is a Fugitive

3) Is on Bail or Release from (show Dis;

Northern District of Califo

IS IN CUSTODY Noe

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4) [[] On this charge 4
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5) (-] On another conviction } ) SE To 5} tat
e
aM

6) [[] Awaiting trial on other charges
If answer to (6) is "Yes", show name of institution

If "Yes"

} give date
filed

Month/Day/Year

Has detainer L] Yes
been filed? 0 No

DATE OF »
ARREST

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

ADDITIONAL INFORMATION OR COMMENTS

Date/Time:

[-] This report amends AO 257 previously submitted

Bail Amount:

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge: HON. DONNA M. RYU

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| DAVID L. ANDERSON (CABN 149604)
United States Attorney

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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VIOLATIONS:

18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) — Possession
of Child Pornography;

18 U.S.C. § 2253(a) — Criminal Forfeiture

UNITED STATES OF AMERICA,
Plaintiff,
v.
RICHARD EUGENE HARTMAN,

Defendant.

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INDICTMENT
The Grand Jury charges:
COUNT ONE: (18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) — Possession of Child Pornography)
On or about July 24, 2019, in the Northern District of California, the defendant,
RICHARD EUGENE HARTMAN, —
did knowingly possess matter which contained at least one visual depiction that had been shipped and
transported using a means and facility of interstate and foreign commerce and had been shipped and
transported in and affecting interstate and foreign commerce, the production of which visual depiction
involved the use of a minor who had not attained 12 years of age engaging in sexually explicit conduct,

which visual depiction was of such conduct, all in violation of Title 18, United States Code, Sections

INDICTMENT

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2252(a)(4)(B) and (b)(2).
FORFEITURE ALLEGATION: (18 U.S.C. § 2253(a))

The allegations contained in this Indictment are re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 2253.

Pursuant to Title 18, United States Code, Section 2253, upon conviction of the offense set forth
in this Indictment, the defendant,

RICHARD EUGENE HARTMAN,

shall forfeit to the United States of America:

a. any visual depiction described in Title 18, United States Code, Sections 2251 or
2251A, or 2252, or any book, magazine, periodical, film, videotape, or other matter
which contains any such visual depiction, which was produced, transported, mailed,
shipped or received in violation of Title 18, United States Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from the offenses; and

c. any property, real or personal, used or intended to be used to commit or to promote
the commission of the offenses.

The property to be forfeited includes, but is not limited to:

a. HP Desktop PC, serial number 8CGB454F6X;

b. Crucial 250 GB SSD, serial number 1510F003C119;

c. Seagate 1000 GB HDD, serial number S4Y¥22M0X;

d. PNY 128 GB USB Drive; and

e. Lenovo Laptop PC, serial number YB07935834.

If any of the property described above, as a result of any act or omission of the defendant:

a. cannot be located upon exercise of due diligence;

has been transferred or sold to, or deposited with, a third party;

c. has been placed beyond the jurisdiction of the court;
d. has been substantially diminished in value; or
e. has been commingled with other property which cannot be divided without

INDICTMENT 2

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and Title 28, United States Code, Section 2461(c).

DATED: March 12, 2020

DAVID L. ANDERSON
United States Attorney

|_L—

MOLLY A. SMOLEN
Assistant United States Attorney

ll INDICTMENT 3

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the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,

United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2253(b)

All pursuant to Title 18, United States Code, Section 2253, Title 28, United States Code,
Section 2461(c), and Federal Rule of Criminal Procedure 32.2.

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FOREPERSON_”

